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                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                                                    CIVIL ACTION NO.

VERSUS                                                              20-92-BAJ-EWD

REC MARINE LOGISTICS, LLC, ET AL.

                               TELEPHONE CONFERENCE REPORT

        A telephone conference was held on January 24, 2022 before Magistrate Judge Erin

Wilder-Doomes with the following participants:

        PRESENT:          Daniel Sheppard                    Salvador J. Pusateri
                          Counsel for Plaintiff,             Kristin B. Dobard
                          McArthur Griffin                   Counsel for Defendants,
                                                             REC Marine Logistics, LLC
                          Alan R. Davis                      GOL, LLC, Gulf Offshore Logistics,
                          Counsel for Defendant,             LLC and Offshore Transport
                          QBE Insurance (Europe)             Services, LLC
                          Limited

        The telephone conference was set to discuss potential amendments to the current

Scheduling Order 1 in light of the Court’s January 14, 2022 Ruling, which granted leave to

Defendants REC Marine Logistics, LLC, GOL, LLC, Gulf Offshore Logistics, LLC and Offshore

Transport Services, LLC (“Defendants”) to amend their Answer, primarily to assert an affirmative

defense under McCorpen v. Cent. Gulf S. S. Corp.. 2 The Amended Answer was timely filed on

January 21, 2022. 3

        As noted in the Ruling, there appears to be outstanding discovery regarding the McCorpen

defense, so the parties were asked whether additional time was needed to complete this discovery




1
  R. Doc. 70.
2
  R. Doc. 94. See 396 F.2d 547 (5th Cir. 1968).
3
  R. Doc. 95.

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in line with the parameters discussed during a prior conference. 4 Plaintiff advised that he requires

Defendants’ responses to written discovery regarding the McCorpen defense and, probably, an

additional deposition, but if Defendants timely provide their responses and agree to the deposition,

Plaintiff will not need additional time (at this point). Plaintiff wants to maintain the current March

21, 2022 trial date. 5

         Defendants contend that they have been gathering relevant documents as to the only

response outstanding, which is related to information regarding deckhands who applied with REC

Marine and reported neck and back injuries during the “look back” time period of April 2016 (the

date Plaintiff applied for employment with REC Marine) through April 2018. Defendants advise

that they anticipate having those documents in early February and will work with Plaintiff to

schedule the deposition, such that the current trial date could be maintained.

         The parties also discussed a dispute on the parameters of McCorpen-related discovery.

Plaintiff contends that the appropriate “look back” period for the referenced documents should

begin in March 2012, when Plaintiff initially applied for employment through non-party JNB

Operating, LLC, and the two-year look back period suggested by Defendants is too narrow because

it may not include employees (such as Plaintiff) who transitioned to REC from other companies,

rather than just those employees who were directly hired by REC. To address this concern,

Defendants offered to confirm whether all persons who were employed by REC Marine in 2016

were required to complete an employment application with REC Marine (as Plaintiff was).

         Plaintiff also requested production of the referenced documents beginning from a point

pre-dating Plaintiff’s April 19, 2016 employment application with REC Marine, so that the


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  See R. Doc. 75, p. 4. Because of its impact on scheduling, the Court also inquired as to whether Plaintiff intended
to appeal the Ruling. Plaintiff’s counsel had not yet discussed that issue with his co-counsel and therefore a decision
regarding an appeal has not yet been made.
5
  The parties were advised that whether the current trial date is maintained is at the discretion of the district judge.



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applications of all transitioning employees would be included in the production. Defendant agreed

to determine when the transitioning process took place such that a document production would

adequately capture information about other employees with relevant history who transitioned to

REC Marine in the relevant time period. The parties agreed to work together to resolve discovery

issues moving forward.

         The Court provided guidance to the parties regarding the look back period and the

parameters of McCorpen-related discovery. The current deadlines remain in effect, 6 unless

otherwise ordered by the Court. 7

         Signed in Baton Rouge, Louisiana, on January 24, 2022.


                                                        S
                                                        ERIN WILDER-DOOMES
                                                        UNITED STATES MAGISTRATE JUDGE




6
 See R. Docs. 70 & 92.
7
 Plaintiff stated he may seek leave to file a summary judgment motion regarding the McCorpen defense. The parties
were advised that Court leave would have to be granted to permit such filing and that the filing of additional dispositive
motions may result in a continuance of the trial date.



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